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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      DECLARATION OF ANA RAQUEL
PALO ALTO, et al.,                    DEVEREAUX (MIRC) IN SUPPORT
              Plaintiffs,             OF PLAINTIFFS’ MOTION FOR A
                                      TEMPORARY RESTRAINING
     v.                               ORDER AND PRELIMINARY
                                      INJUNCTION
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
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                    DECLARATION OF ANA RAQUEL DEVEREAUX

SENIOR MANAGING ATTORNEY FOR MICHIGAN IMMIGRANT RIGHTS CENTER



I, Ana Raquel Devereaux, make the following statements on behalf of the Michigan Immigrant
Rights Center. I certify under penalty of perjury that the following statement is true and correct
pursuant to 28 U.S.C. § 1746.

   1.​ My name is Ana Raquel Devereaux, and I am a Senior Managing Attorney at the
       Michigan Immigrant Rights Center (hereinafter, “MIRC”). MIRC is a non-profit
       organization that provides free legal services for children and other non-citizens who
       have suffered abuse, trafficking, and persecution. MIRC is the only organization serving
       unaccompanied children in the custody of the Office of Refugee Resettlement
       (hereinafter, “ORR”) in Michigan and the primary organization providing legal services
       to children in the unaccompanied refugee minor program in Michigan and to children
       released from ORR custody to sponsors in Michigan.

   2.​ Michigan Immigrant Rights Center (MIRC) is a legal resource center for Michigan's
       immigrant communities. MIRC works to build a thriving Michigan where immigrant
       communities experience equity and belonging. The Michigan Immigrant Rights Center is
       a program of Michigan Statewide Advocacy Services (MSAS). MIRC has five local
       offices throughout the state of Michigan which provide direct legal services to
       unaccompanied children and also provide general community immigration legal services.
       Our five local offices are located in Detroit, Ypsilanti, Lansing, Grand Rapids, and
       Kalamazoo. These five offices are supported by a statewide structure within MIRC to
       provide training, administrative and supervisory support, community engagement, and
       pro bono support.

   3.​ In order to carry out this mission with respect to providing legal services to
       unaccompanied children, MIRC has several main work components: (1) Providing
       educational and pro se services in the form of legal education “know your rights”
       (“KYR”) presentations, conducting individual consultations (intakes), and conducting pro
       se workshops with all unrepresented children in ORR custody in Michigan; (2)
       Representing unaccompanied minors who are not in ORR custody in immigration
       proceedings; and (3) Representing children in ORR custody in immigration proceedings.
       We further host Immigrant Justice Corps (IJC) fellows to represent unaccompanied
       children in removal proceedings and provide Spanish-language support for staff
       representing unaccompanied children.

   4.​ MIRC has been providing legal services for unaccompanied immigrant children in
       Michigan since 2009 at a smaller scale and with a dedicated unaccompanied children’s

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   team beginning in 2017 when MIRC received its first subcontract to serve children in
   ORR custody in Michigan. That first contract focused on providing KYR presentations,
   legal screening, support for hearings, and representation as needed for all children in
   short-term ORR custody in Michigan and providing universal immigration representation
   to all children in long-term ORR custody in Michigan.

5.​ Since 2017, the ORR bed capacity in Michigan for short and long-term shelters and foster
    care facilities has expanded significantly to its current capacity of 335 short-term beds
    and 122 long-term beds. In 2021, MIRC’s subcontract expanded to permit MIRC to offer
    representation to children in Michigan who have been released from ORR custody and
    are in removal proceedings. MIRC has grown its capacity to represent released children
    from 240 to 565. Additionally, in 2021, an Emergency Intake Site was opened in
    Michigan with 225 beds. MIRC served all of the children in that facility by providing
    KYR presentations, conducting intakes, and conducting pro se workshops with all
    unrepresented children in ORR custody in Michigan, and offering representation,
    especially when the facility turned over its population and housed most of the Afghan
    Unaccompanied Minors who arrived in ORR custody and the contract provided for and
    required asylum and work authorization for these youth while in ORR custody. MIRC
    continues to serve all ORR beds in Michigan and remains ready to expand to serve any
    additional facilities that serve unaccompanied children in the state and to reach as many
    released children for representation as is within our capacity, which we have continually
    expanded to address the unmet need in the state of Michigan. At this time, we serve the
    following facilities: BCC Caminos Nacional – Michigan Children’s Home Society,
    Bethany Christian Services – Wedgwood Christian Services, Bethany TLC, Bethany
    USCCB (Bellaview and Casa del Sol), LIRS – BCS MI Kalamazoo LTFC – Casa de
    Esperanza, LIRS – BCS MI Kalamazoo LTFC TGH – Hacienda De Luz, Samaritas
    LTFC, LIRS–BCS MI Alma Shelter, LIRS–BCS MI East Lansing TFC, LIRS–BCS MI
    Grand Rapids Shelter – TAC, LIRS–BCS MI Grand Rapids TFC, LIRS–BCS MI Holland
    TFC, LIRS–BCS MI Muskegon TFC, USCCB Catholic Charities West Michigan TFC,
    Samaritas Shelter – Grand Rapids, Samaritas URM – LIRS – Lansing, MI , Bethany
    Christian Services URM – USCCB – Kalamazoo, MI , Bethany Christian Services URM
    – USCCB/LIRS – Grand Rapids, MI , Bethany Christian Services URM – LIRS –
    Traverse City, MI.

6.​ With U.S. Department of Health and Human Services (HHS) funding, MIRC currently
    has 147 positions serving children in and released from ORR custody in Michigan.
    Specifically, these 147 positions encompass 113 full-time employee’s worth of funding
    and dedicated services to unaccompanied children. Of these roles 58 are attorney staff
    roles (including attorney managers), 3 of which are Immigration Justice Corps Attorney
    Fellows, 47 are paralegals (all of whom are either DOJ-Accredited or are working
    towards their DOJ-Accreditation), 13 are paralegal supervisors, and the remaining staff

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   focus on data reporting, administrative case support, case intake, training, and
   communication.

7.​ Staff providing representation and KYR presentations to children in ORR facilities
    regularly travel to each facility in person to conduct client interviews, prepare clients for
    hearings, as well as provide legal education, individual consultations, and pro se
    workshops for pro se children. MIRC serves children in 9 short-term facilities, which
    range in size from 12 beds to 36 beds. Each week, MIRC staff visit the facility one to two
    days to provide KYRs and intakes with each child who has arrived within the last week
    and also to provide follow-up services to children who have been at the facility for an
    extended time or are otherwise in need of representational legal services. Additionally,
    the children come to our offices one additional day during the week as that additional
    time is usually required to complete all the services within the contractually required 7-10
    business day period after their arrival in custody. Additionally, we have 8 long-term
    ORR facilities in Michigan, ranging in bed size from 8 to 32. When children arrive to
    long-term ORR facilities, MIRC assigns an attorney/paralegal team to meet with the child
    and offer representation within 30 days of their arrival.

8.​ For children released from custody, the children are either referred through the
    Acacia-facilitated referral system, UCORD, or by calling our intake line, once we
    determine that the child meets the eligibility criteria while offices are accepting new
    cases, we then meet with the child within 30 days to offer representation. For children
    with whom we have entered representational agreements, MIRC’s legal teams represent
    children in state and immigration court, file petitions with USCIS, file motions and
    petitions with the immigration court, file mandamus and habeas actions in the Eastern
    and Western Federal District Courts in Michigan, file appeals with the Michigan Court of
    Appeals, USCIS, EOIR, the BIA (and in similar cases, we have proceeded as far at
    pursuing appeals in 6th Circuit Federal Court of Appeals, but it has not been necessary yet
    for a case under this contract), as well as pursue other advocacy efforts within ORR and
    other spaces where unaccompanied children are detained and/or receive services.

9.​ Children in short-term ORR custody have just arrived in this country and generally have
    never been in a formal custodial system. They speak many different languages and have a
    variety of educational backgrounds, ranging from no formal education to middle school
    level schooling, including high school-age children because they have rarely had high
    school educational opportunities. Due to all of these factors, they are not yet equipped
    with the resources to fully understand what rights they have while in custody and it is
    essential for them to meet with legal services providers to understand that they have a
    right to bodily safety, contact with family, medical care, and educational services, among
    other rights guaranteed in the Flores Settlement and the Foundational Rule. Additionally,
    the immigration legal system is extremely complex and nuanced, and without an
    orientation with a legal service provider, it would be near impossible for children, let
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   alone the non-attorney staff at these short-term custodial sites to be able to explain, to
   understand critical pieces of the system that affect them, including the importance of
   keeping addresses up to date and attending immigration hearings (and even how to
   understand the notices that arrive indicating when a hearing will occur).

10.​A reality that must be addressed is that children in custody are incredibly vulnerable by
    the nature of a custodial system where the vulnerability factors for sexual and physical
    abuse are extremely prevalent. A bad actor may take advantage of these systemic
    vulnerabilities. If these children do not have access to legal counsel that is independent
    from ORR and the organizations that sub-contract to provide the custodial services, these
    children surely will face even greater levels of abuse in custody. MIRC intervened and
    represented children in 2023 when there was an instance of systemic sexual abuse of
    children in short-term custody in one of the ORR Michigan facilities. MIRC worked to
    represent individual children, supporting them in reporting to law enforcement and
    participating in the prosecution of the crime, and holding agency staff and ORR
    leadership accountable for ensuring further protections are put in place for future children
    in custody at that facility. Additionally, MIRC represented individual children who faced
    abuse in ORR foster homes and as soon as the child disclosed the circumstances to
    MIRC, we ensured they received protection and there was accountability for the
    individual and systemic failures that harmed the child.

11.​In Michigan, if MIRC did not provide these services under the HHS contract, it would be
    impossible for the majority of the children to receive representation. The private bar in
    Michigan is relatively small and generally at capacity. Very few private immigration
    practitioners take children’s cases, due to the specialty area of law it encompasses. The
    few attorneys who do take the cases will charge $10,000 on average, which is outside of
    reach for most children released to the community and impossible for all children in ORR
    custody who by definition have no family or financial support in the country. Before
    MIRC began working under the contract, we would receive frequent calls from staff at
    the ORR facilities asking us to take the cases because no one else would do so, but
    without offering any funding for the work. We turned down a large number of these cases
    due to a lack of capacity.

12.​Since MIRC’s founding in 2009, MIRC has engaged in recruitment and mentorship of
    pro bono attorneys to the fullest extent possible, but a significant challenge has been that
    in the state of Michigan, pro bono attorneys do not generally have immigration expertise,
    only speak English (and unwilling to pay for interpretation for pro bono cases), and are
    unwilling to commit to the timeframe of children’s immigration cases or with the special
    care needed when working with children. Only recently have we had some small success
    involving pro bono attorneys in our children’s work, and it has been because the HHS
    contract funds language support for the pro bono attorneys and we have a dedicated team
    to train and support those pro bono attorneys. Even with this support, the pro bono
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   attorneys will usually only offer support in small ways and rarely or never take on full
   cases for representation.

13.​A few other small non-profit legal service providers exist in the state of Michigan, but all
    of them are quite small and have only had capacity to focus on primarily adult and
    USCIS-only representation, leaving no other non-profit options for children in removal
    proceedings aside from MIRC.

14.​In addition to MIRC providing the only available and financially accessible legal
    representation for unaccompanied immigrant children in the state of Michigan, MIRC
    dedicates significant resources to ensuring the staff MIRC hires are culturally humble, are
    passionate about serving immigrant children, are trained in best practices for
    trauma-informed and child-friendly legal services, follow strict child abuse prevention
    guidelines, and as much as possible share cultural, linguistic, and experiential
    backgrounds with our child clients.

15.​Under the unaccompanied child legal services program, since 2017, MIRC has entered
    representation for 1,697 children, provided 5,686 Know Your Rights sessions, 4,061 legal
    screenings, and identified 6,158 potential pathways for relief for our young clients. We
    have represented children as young as 10 months old. In 2024, MIRC offered legal
    services and representation to children who spoke 62 different languages MIRC has filed
    asylum for 725 children, with an 83% approval rate, and filed 351 applications for
    permanent residency, with 155 of those already approved (the remaining are pending).
    MIRC currently has over 900 cases open for unaccompanied children in removal
    proceedings. These numbers result in real, meaningful changes in the lives of children
    and families, children who grow up to thrive and be part of our communities.

16.​MIRC has represented children fleeing abuse, including those who were regularly
    whipped with electric cords or who faced ongoing sexual abuse with no hope of
    protection from their communities. MIRC has reunited children with loved ones–children
    should have the opportunity to be children and the law requires them to be placed in the
    least restrictive environment feasible, the best place for a traumatized child is with the
    family or community members with whom they feel most comfortable. These were
    courses of action that required a lawyer due to their complexity, the legal expertise
    required, the many logistical barriers within USCIS and immigration court. Without
    legal representation, these children would have been forced to return to situations of
    abuse, persecution, and lack of safety due to the inability for a child to meaningfully
    present their case.

17.​We have also represented children who have been trafficked, such as children who were
    forced to do dangerous work and beaten when they were too sick to go to work. One of
    the most powerful tools that traffickers use is the threat of deportation to intimidate their

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   targets. Taking lawyers away from children strengthens traffickers’ hands. Many times
   our legal services have prevented children from falling through the cracks–sometimes by
   identifying abuse in custody and supporting children in coming forward to authorities
   about such abuse and sometimes by helping children who find themselves in an unsafe
   situation obtain safe housing or meet other needs to escape violence.

18.​In addition to the work we do for children in and released from ORR custody in
    Michigan, we also work to connect children with counsel when they are moved to an
    ORR placement outside of Michigan or are released out of state. We work with the child
    and use the information we obtained during intake consultation to prepare a referral and
    have staff dedicated to following up to do our best to connect children to free legal
    counsel in their new location.

19.​MIRC is well respected among the local state courts, immigration courts, ICE, USCIS,
    and local ORR subcontractor staff. MIRC developed norms with each
    ORR-subcontracted facility by having quarterly meetings to work through logistics and
    continue to uphold best practices on behalf of the children in custody. Staff from these
    agencies regularly express their gratitude for MIRC staff and how essential they are for
    the children. MIRC and the immigration court staff developed a weekly call framework
    where MIRC efficiently funnels the matters needing the court’s attention through one
    central point of contact, rather than having more than fifty representatives reaching out
    individually to get questions answered or provide information. The court regularly
    approaches MIRC for support for pro se respondents and in support of MIRC remaining
    on the court pro bono list (MIRC is the only organization on that list in Michigan). MIRC
    regularly engages with ICE and USCIS both in representational settings and in
    stakeholder engagement contexts respectfully and collaboratively on behalf of the clients
    when possible. One of Detroit’s Immigration Judges recently took some time after a
    hearing to thank our staff member for working for MIRC and for all the great and
    important work MIRC does.

20.​Additionally, MIRC received the Champion of Change award in 2024 from the
    Governor’s Task Force on Child Abuse and Neglect and Children's Advocacy Centers of
    Michigan, as part of the nomination for the award, Veronica Thronson, leader of the
    Michigan State University College of Law’s Immigration Clinic, was quoted as praising
    MIRC as follows:

           The nominee has been a champion for children since its inception, through direct
           representation of children and their families in seeking protection in immigration
           and state contexts... These children have been abused, neglected, or abandoned in
           the State of Michigan. MIRC's team has grown from two attorneys to its current
           size of [, with] staff members focused specifically on protecting the rights of
           children in federal custody in Michigan, achieving permanent protection for

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      children through state and federal courts, and advancing the law to create the
      greatest access to these protections for all children in Michigan. MIRC has stood
      in the gap during family separation under the Zero Tolerance policy and ensured
      that all children in Michigan were reunited with their families according to their
      wishes. Further, MIRC has held the federal government and its subcontractors
      accountable when children’s rights were violated in federal care in Michigan, in
      licensed and unlicensed facilities. The nominee has led efforts to try to ensure
      responses to abuse in custody are trauma-informed and provide the protection
      needed for children in care. Illustrative of the difference that the nominee’s
      services have made in the lives of children, in 2023 alone, the nominee served
      over one thousand children through Know Your Rights presentations, legal
      screenings, and direct representation in immigration, state court, and before
      immigration agencies. Also in 2023, the nominee secured state court protections
      in multiple counties and began a path toward citizenship for hundreds of
      immigrant children. More stable immigration status allows children to thrive in all
      other aspects of their lives.

      The nominee recently added an innovative team to address social, emotional, and
      physical needs, which has already assisted over 150 children. The nominee has
      increased knowledge of protections for immigrant children in state courts
      throughout Michigan, creating a safety net for children across the state. These
      children who are released to sponsors or relatives frequently went without access
      to an attorney before the nominee’s programming emerged to serve them. MIRC
      has been the leader in appellate cases that have enshrined protections available
      under the law to immigrant children who have been abused, neglected, or
      abandoned. In particular, the nominee has won two critical appeals that serve as
      seminal case law impacting immigrant children in Michigan.

      The nominee leads several collaborative efforts with stakeholders to enhance
      outcomes for children, through joint advocacy, training, and resource sharing. As
      new populations of immigrant children enter the state, the nominee has taken a
      leading role in assisting service providers to be ready to welcome children in a
      culturally informed and humble manner. Where necessary, the nominee has
      advocated on behalf of children whose religious and cultural needs were not fully
      met by other service providers and to ensure that children who are victims of
      sexual assault, human trafficking, and other crimes are met with a holistic and
      culturally sensitive response. For example, the nominee has worked with law
      enforcement to inform them of the impact of trauma on specific populations, such
      as youth arriving from Afghanistan who had been evacuated during the Taliban’s
      takeover and who had been separated from their families.

      The nominee has also championed change through legislative advocacy at the
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           state level to enhance protections for children who are harmed through child
           labor, to expand access to Medicaid to children in need, and to ensure language
           access for state services. In particular, the nominee has partnered with state
           legislators to increase protections for children exposed to exploitative labor
           practices, partnering with various stakeholders and leaders to testify on the needs
           of children to local, state, and national media.

           Overall, MIRC has changed the landscape of representation for immigrant
           children for the better in ways that are measurable in the law and the experience
           of children and their families in the community. Over the years, thousands of
           children have safety, stability, and the opportunity to thrive in no small part due to
           the team focused on the rights and representation of immigrant children in
           Michigan that the nominee has been able to cultivate and grow and seeks to keep
           doing so to continue to serve children.

21.​Without warning, on February 18, 2025, HHS (through the U.S. Department of the
    Interior) issued a national contract stop work order for Legal Services for
    Unaccompanied Children, effective immediately, which extended to all five Contract
    Line Numbers (CLINs): 1. KYR presentations and legal services for pro se children in
    ORR facilities; 2. Legal representation for unaccompanied children not in ORR custody;
    3. Legal representation for unaccompanied children in ORR custody; 4. Spanish language
    tutoring for organizational staff who work with children; and 5. Immigrant Justice Corps
    fellows who represent children not covered under other CLINs. Without further
    elaboration on duration or reasoning, the stop work order states that it “shall remain in
    place until you are notified otherwise” and “is being implemented due to causes outside
    of your control and should not be misconstrued as an indication for poor performance.”

22.​Some MIRC staff were on a virtual meeting led by the Acacia Center for Justice on other
    matters when the Acacia Center for Justice received notice of the stop work order around
    1:00 PM EST. Information was shared on that call and an email was sent shortly
    thereafter to the entire network. We then immediately had to sort out what this meant in
    practice and how to ensure every staff member received the information and began to act
    accordingly. We had an urgent leadership meeting to understand the stop work order and
    attended an Acacia call hosted on the topic of the stop work order and then held a
    meeting for our team to explain what we knew at that point, which was very little.

23.​During the stop work order, MIRC used a small fund reserve to ensure our clients had the
    best possible service for as long as possible. The stop-work order did not cut off legal
    representation for children who are already represented. Because MIRC’s lawyers had
    already filed paperwork with the court and USCIS as the attorney of record for our cases,
    they are obligated to continue representation or face the possibility of sanctions or bar
    complaints — unless they ask a judge to be removed from the case, which takes time and

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   has very specific ethics rules that guide how to make this request and when and if a judge
   will grant it. These reserves can only carry our staff for a few weeks. Roughly 80% of
   MIRC’s budget is funded through the unaccompanied children’s HHS funding. If we lose
   this funding in the long term, we would expect to let go of all of 113 employees, in other
   words, we do not expect meaningful replacement funding that would allow us to carry on
   the work under this contract. We would also need to seek to withdraw from all of the
   1,205 open cases under the contract and would need to use reserves to have staff focus on
   that work. The reserves are a critical part of MIRC’s long-term sustainability, so the Stop
   Work Order and any other loss of funding under this contract affects MIRC’s other work
   in the community for other vulnerable populations.

24.​During the stop work order, we paused offering KYRs and intakes for children in ORR
    custody and focused on using our limited resources to maintain our ethical obligations to
    current child clients.

25.​Time spent on stop-work order logistics cost us valuable time in needing to communicate,
    understand, and change our case management practices to account for the change under
    the stop-work order. More than that, it has caused a significant feeling of instability,
    stress, and low morale. MIRC’s highly trained, experienced, and specialized staff are
    beginning to put in their resignation notices to go to jobs that have more funding security.
    MIRC has built an outstanding reputation as an employer and has been able to attract
    unusually high quantities of staff to our work, compared to similar local non-profits,
    because of our commitment to the community, our stable funding, and our efforts to train
    and support our staff in their work. This reputation is being significantly undermined by
    the stop work order and the subsequent lack of security around the ongoing funding of
    the contract and it will make it harder to attract new staff in the future to replace those
    who have left during this time.

26.​When the stop work order was rescinded, MIRC resumed providing all services under the
    UCP contract. On March 21, 2025, MIRC received notice of ORR’s termination of
    CLINs 2, 3, and 4 of the Acacia UCP contract, effective at the close of business that day.

27.​MIRC currently represents over one thousand children under the Acacia UCP contract
    CLINs 2 and 3 work. These cases involve representation before Michigan local state
    courts, USCIS, and the Detroit Immigration Court. Without CLIN 2, 3, and 4 funding,
    MIRC will begin an immediate process to withdraw from these cases. Even though we
    have made significant efforts to fundraise with individual, foundation, and local
    government funding, there is no meaningful replacement for the funding offered for
    representational services of unaccompanied children under the UCP contract. Our
    alternate fundraising may allow us to keep as many as 100-200 cases open, which would
    leave over 800 children whose representation we will need to withdraw from
    immediately. While we will begin our efforts to withdraw from the cases for which we

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   did not obtain alternate funding, the process of withdrawal takes some time with ensuring
   the proper wrap-up tasks have been completed so the client is not unduly prejudiced by
   the withdrawal and counsel needs to formally seek to withdraw where we have entered
   appearances before tribunals, which takes time and is subject to the decision of the judge
   on each case.

28.​While we have attempted to do the most we could for each client before we were in the
    position, we still have many clients for whom no relief has been filed because we have
    only begun working on their cases recently or there were external hurdles to
    accomplishing our initial goals in the case. Almost every one of the children MIRC
    represents qualifies for protection under the immigration law, however, it is a lengthy,
    arduous, and legally complex process that allows us to usher the client to the point of
    receiving the immigration status they qualify for. Many of the children whom we will no
    longer be able to represent due to the termination of CLINs 2, 3, and 4 of the UCP
    contract will be unable to secure new counsel and be unable to navigate the immigration
    processes without counsel, and so will be left without protections they qualified for and
    will be deported to situations where they would face abuse, neglect, persecution,
    separation from critical caregivers and services. In all of this, expecting these children to
    face the immigration system without counsel will have deprived these children of their
    right to due process under the law.

29.​ CLINs 2, 3, and 4, comprise about 75% of MIRC’s budget. Of the 113 full-time
   employee’s worth of funding in our UCP budget, about 98 of those are in CLINs 2, 3, and
   4. If funding from CLINs 2, 3, and 4 is not restored within a few days, MIRC will need to
   proceed to provide layoff notices to the majority of staff funded under those CLINs. We
   are able to use some of the funds we raised to allow us to provide staff a short notice
   period to withdraw from cases and honor their rights as employees. Even this little bit of
   essential transition period after a layoff notice, will cost MIRC at least 1.2 million dollars
   of funds drawn from other sources that take away from MIRC’s ability to serve other
   vulnerable populations.

30.​However, if the restoration of CLIN 2, 3, and 4 funding is delayed any more than a week
    and we have already given staff their layoff notices, we expect most staff will still seek to
    depart, even if funding is restored, because of the uncertainty and individualized
    detriment to their morale to know they specifically were not retained. Even as we have
    been nearing the end of the contract period, more and more staff have been departing,
    especially our more seasoned staff, because the earlier stop work order gave them
    concern for the future of the funding.

31.​If the restoration of CLIN 2, 3, and 4 funding is delayed any more than a month, and we
    would be in a position to have to rehire for the work, it would be unlikely that most of the
    laid-off staff would be interested in returning. Before this season of funding uncertainty,

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       MIRC has been close to exhausting the hiring pool of those interested in and able to do
       work under the UCP contract, especially where attorneys are concerned, and so I expect
       our success in bringing on new staff would be limited, to begin with, and it would cost us
       the months of labor in recruiting, hiring, onboarding, and building their familiarity with
       the work that it takes to return to the staffing norm we have now.

   32.​Beyond the cost to the staff themselves, the cost to the clients of closing cases, laying off
       staff, then having to bring on new staff, and trying to reach out to clients to try to offer
       them representation again is devastating, specifically shattering those relationships of
       trust which have taken so much to build. A stable and trusting relationship is critical for
       children. They will have no reason to trust our ability to continue to keep their cases and
       they will have to build relationships with new people, assuming they are available, which
       is already hard for anyone having to share the most traumatic details of their life story in
       order to pursue immigration relief, but it is especially hard for a child in that situation.

   33.​The uninterrupted and ongoing funding of this work with unaccompanied children is
       critical to the protection of children from harm in custody and against the significant risk
       posed by going through removal proceedings without counsel and the subsequent harm
       that would result from removal. Not only that, but the stability of this funding is critical
       to MIRC’s ongoing work as an anchor immigrant rights organization.

I declare under penalty of perjury under the laws of the District of Columbia that the foregoing is
true and correct.



Executed on the 22 of March 2025, in Lansing, Michigan.​ ​          ​       ​        ​      ​
​      ​      ​       ​     ​

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Ana Raquel Deveraux (P79145)
Senior Managing Attorney
Michigan Immigrant Rights Center




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